
PER CURIAM.
This cause having heretofore been submitted to the Court on Petition for Writ of Certiorari, jurisdictional briefs and portions of the record deemed necessary to reflect jurisdiction under Florida Appellate Rule 4.5 c (6), 32 F.S.A., and it appearing to the Court that it is without jurisdiction, it is ordered that the Petition for Writ of Certiorari be and the same is hereby denied.
Pursuant to the provisions of Section 627.0127, Florida Statutes 1967, F.S.A., respondent’s attorney is awarded attorney’s fee in the sum of $250.00 for services in these proceedings.
It is so ordered.
ROBERTS, DREW, THORNAL and ADAMS, JJ., concur.
CALDWELL, C. J., and THOMAS and ERVIN, JJ., dissent as to attorney’s fee.
